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                             Notice of Hearing Pg 1 of 3


                                                           Hearing Date: March 27, 2010 at 10:00 a.m.
                                                   Response Deadline: March 21, 2014 at 4:00 p.m.


UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
________________________________________________
                                                           :       Case No. 08-13555 (SCC)
IN RE:                                                             :
                                                :                  Chapter 11
LEHMAN BROTHERS HOLDINGS, INC. et al.,          :
                                                :                  (Jointly Administered)
      Debtors.                                  :
                                                :
________________________________________________


        NOTICE OF HEARING ON CREDICAN C.A.’S VERIFIED MOTION
    TO DESIGNATE DIAZ REUS & TARG, LLP. AS AGENT FOR RECEIPT OF
     DISTRIBUTIONS AND HONOR CHANGE OF ADDRESS FOR PURPOSES
       OF THE FIFTH DISTRIBUTION AND ALL FUTURE DISTRIBUTIONS

       PLEASE TAKE NOTICE THAT Credican, C.A., (“Credican”) by its counsel Diaz, Reus

& Targ, LLP., has filed a Verified Motion to Designate Diaz, Reus & Targ, LLP., as Agent for

Receipt of Distributions and Honor Change of Address for Pursposes of Fifth Distribution and all

Future Distributions (the “Motion”).

       PLEASE TAKE FURTHER NOTICE that a hearing (the “Hearing”) to consider the relief

requested in the Motion has been scheduled for 10:00 a.m. (Eastern Daylight Savings time) on

March 27, 2014 before the Honorable Shelley C. Chapman, United States Bankruptcy Judge, in

the United States Bankruptcy Court for the Southern District of New York, One Bowling Green,

Courtroom 601, New York, NY 10004-1408.

       PLEASE TAKE FURTHER NOTICE that responses, if any to the Motion must be (a)

made in writing: (b) comply with the Bankruptcy Code, the Bankruptcy Rules, the Local Rules

for the United States Bankruptcy Court for the Southern District of New York and the Second

Amended Order Pursuant to Section 105(a) of the Bankruptcy Code and Bankruptcy Rules
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1015(c) and 9007 Implementing Certain Notice and Case Management Procedures dated June

17, 2010; 9c) filed with the Bankruptcy Court in accordance with General Order M-242 (as

amended) (i) electronically by registered users of the Bankruptcy Court’s case filing system, or

(ii) on a 3.5 inch disk (preferably in Portable Document Form (PDF), WordPerfect, or ay other

Windows-based word processing format0 by all other parties in interest; (d) be submitted in hard

copy form to the chambers of the Honorable James M. Peck, United States Bankruptcy Judge,

United States Bankruptcy Court for the Soutehrn District of New York, One Bowling Green,

New York, New York, 10004; and (e) be served upon the following parties: (i) counsel for Diaz,

Reus & Targ, LLP. 100 S.E. 2nd Street, Suite 3400, Miami, FL 33131, Attention: Carlos F.

Gonzalez; (ii) counsel for the Debtors, Weil Gotshal & Manges LLP, 767 Fifth Avenue, New

York, New York, 10153, Attention: Robert J. Lemons, Esq., Shai Y Waisman, Esq, and

Jacqueline Marcus, Esq., (iii) counsel for the Official Committee of Unsecured Creditors,

Milbank, Tweed, Hadley & McCloy, LLP., 1 Chase Manahttan Plaza, New Tork, New York

10005, Attention: Dennis F. Dunne, Esq., Denise O’Donnell, Esq., and Evan Fleck, Esq.,; (iv)

counsel for the Debtors Postpetition Lenders, Clearly Gottlieb Steen & Hamilton, LLP., One

Liberty Plaza New York, New York 10006, Attention: Lindsee P. Granfield, Esq., and and Lisa

Shweiger, Esq., and Sullivan Cromwell, LLP., 125 Broad Street, New York, New York 10004,

Attention: Robinson B. Lacy Esq., and Hydee R. Feldstein, Esq., (iv) counsel for James W.

Giddens, as Trustee for the SIPA Liquidation of Lehman Brothers, Hughes Hubbard & Reed,

LLP, One Battery Plaza, New York, New York, 10004, Attention Jeffrey Coleman, Christpher

Kiplok and Sarah K. Loomis Cave; and (vi) the Office of the United States Trustee for the

Soutern District of New York, New York 10004, Attention: Andy Velez-Rivera, Paul

Shwatrzberg, Brian Masumoto, Linda Rifkin and tracy Hope Davis, in each case so as to be
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received no later tan 4:00 p.m. (Eastern Daylight Savings Time) on March 21, 2014 (the

“Response Deadline”).

       PLEASE TAKE FURTHER NOTICE that only responses made in writing and timely

filed and received by the Response Deadline will be considered by the Bankruptcy Court at the

hearing. If no responses to the Motion are timely filed and served in accordance with the

procedures set forth herein, the Bankruptcy Court may enter an order granting the Motion

without further notice.

Dated: Miami, Florida
March 12, 2014




                                   /s/ Carlos F. Gonzalez
                                   Carlos F. Gonzalez



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